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                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

                                                         )
    In re:                                               ) Chapter 11
                                                         )
    CAESARS ENTERTAINMENT OPERATING                      ) Case No. 15-01145 (ABG)
    COMPANY, INC., et al.,                               )
                                                         )
                             Debtors.1                   ) (Jointly Administered)
                                                         )

                DECLARATION OF EDWARD E. FILUSCH IN SUPPORT OF
             MOTION FOR LEAVE TO APPEAL AND PETITION FOR MANDAMUS

             I, Edward E. Filusch, hereby declare under penalty of perjury:

             I am a member of the law firm Kasowitz, Benson, Torres & Friedman LLP, located at

1633 Broadway, New York, New York, 10019, attorneys for David Bonderman and Kelvin

Davis. I am an attorney duly admitted to practice law in the State of New York and the State of

New Jersey, and I have been admitted pro hac vice in the United States Bankruptcy Court for the

Northern District of Illinois. There are no disciplinary proceedings pending against me.

             1.     Attached hereto as Exhibit 1 is a true and correct copy of the Order Granting in

Part Official Committee of Second Priority Noteholders’ Amended Motion to Compel

Respondents to Produce Documents and Information in Response to Subpoenas [Doc. 4925].2




1
        A complete list of the above-captioned debtors and the last four digits of their tax
identification numbers may be found at https://cases.primeclerk.com/CEOC.

2
        Unless otherwise indicated, all citations to a docket are to the docket in In re Caesars
Entertainment Operating Co., Inc., Case No. 15-01145 (Bankr. N.D. Ill.) (the “Bankruptcy
Case”).
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       2.     Attached hereto as Exhibit 2 is a true and correct copy of the Transcript of

Proceedings before the Hon. A. Benjamin Goldgar, September 14, 2016, In re Caesars

Entertainment Operating Co., Inc., Case No. 15-01145 (Bankr. N.D. Ill.).

       3.     Attached hereto as Exhibit 3 is a true and correct copy of the Disclosure

Statement for the Debtors’ Second Amended Joint Plan of Reorganization Pursuant to Chapter

11 of the Bankruptcy Code, June 28, 2016 [Docket No. 4220-1].

       4.     Attached hereto as Exhibit 4 is a true and correct copy of an excerpt of a March

23, 2016 Kirkland & Ellis LLP presentation entitled “Assessment of Estate Claims Presentation

to the Governance Committee of the Board of Directors of Caesars Entertainment Operating

Company, Inc.” (attached as Exhibit N to the August 31, 2016 Declaration of Sevan Ogulluk in

Support of Official Committee of Second Priority Noteholders’ Motion to Compel Respondents to

Produce Documents and Information in Response to Subpoenas, and to Transfer the Motion

under Rule 45(f) [Docket No. 4792-18] (the “Ogulluk Decl.”)).

       5.     Attached hereto as Exhibit 5 is a true and correct copy of the resignation letter of

Mediator Hon. Joseph J. Farnan, Jr., dated September 9, 2016 [Docket No. 4885-1].

       6.     Attached hereto as Exhibit 6 is a true and correct copy of the Official Committee

of Second Priority Noteholders’ June 28, 2016 Subpoena to Produce Documents, Information, or

Objects or to Permit Inspection of Premises in a Bankruptcy Case (or Adversary Proceeding),

addressed to Marc Rowan.3




3
     This subpoena is exemplary of all subpoenas that were the subject of the Official
Committee of Second Priority Noteholders’ motion to compel.




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         7.    Attached hereto as Exhibit 7 is a true and correct copy of the Responses and

Objections of Marc Rowan to the Official Committee of Second Priority Noteholders’ Request

for Production of Documents, dated July 12, 2016.4

         8.    Attached hereto as Exhibit 8 is a true and correct copy of the Declaration of

Garret Ordower in support of the Opposition of Marc J. Rowan and David Sambur to the

Official Committee of Second Priority Noteholders’ Motion to Compel Respondents to Produce

Documents and Information in Response to Subpoenas, dated September 7, 2016 [Docket No.

4848].

         9.    Attached hereto as Exhibit 9 is a true and correct copy of the Transcript of

Proceedings before the Hon. A. Benjamin Goldgar, August 25, 2016, In re Caesars

Entertainment Operating Co., Inc., Case No. 15-01145 (Bankr. N.D. Ill.).

         10.   Attached hereto as Exhibit 10 is a true and correct copy of the Transcript of

Proceedings before the Hon. A. Benjamin Goldgar, June 7, 2016, In re Caesars Entertainment

Operating Co., Inc., Case No. 15-01145 (Bankr. N.D. Ill.).

         11.   Attached hereto as Exhibit 11 is a true and correct copy of the Transcript of All

Motions on the Calendar, In re Fontainebleau Las Vegas Holdings LLC, Case No. 1:09-BK-

21481 (Bankr. S.D. Fla. Aug. 6, 2014) (attached as Exhibit Q to the Ogulluk Decl. [Docket No.

4792-21]).

         12.   Attached hereto as Exhibit 12 is a true and correct copy of the Official Committee

of Second Priority Noteholders’ August 19, 2019 Motion to Compel Respondents to Produce

Documents and Information in Response to Subpoenas, and to Transfer the Motion under Rule



4
        This response is exemplary of all responses and objections served by the Individuals on
the Official Committee of Second Priority Noteholders’ motion to compel.



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45(f), Case No. 16-00417 (MEW) (S.D.N.Y.), docketed in the Bankruptcy Case on August 31,

2016 [Docket No. 4792].

       13.     Attached hereto as Exhibit 13 is a true and correct copy of the Order Granting

Official Committee of Second Priority Noteholders’ Motion to Transfer, Case No. 16-00417

(MEW) (S.D.N.Y.), docketed in the Bankruptcy Case on August 31, 2016 [Docket No. 4791].

       14.     Attached hereto as Exhibit 14 is a true and correct copy of the Transcript of

Proceedings before the Hon. A. Benjamin Goldgar, August 17, 2016, In re Caesars

Entertainment Operating Co., Inc., Case No. 15-01145 (Bankr. N.D. Ill.).

       15.     Attached hereto as Exhibit 15 is a true and correct copy of the Memorandum in

Support of Chapter 11 Petitions, January 15, 2015 [Docket No. 4].

       16.     Attached hereto as Exhibit 16 is a true and correct copy of the Voluntary Petition,

January 15, 2015 [Docket No. 1].

       17.     Attached hereto as Exhibit 17 is a true and correct copy of the Order (A)

Approving the Confirmation Schedule and (B) Granting Related Relief [Docket No. 4151].

       18.     Exhibit 18 is a true and correct copy of the Final Report of Examiner, Richard J.

Davis, May 16, 2016 [Docket No. 3720], which is not attached hereto due to its size, but is

available at: https://cases.primeclerk.com/CEOC/Home-DocketInfo?DockSearchValue=3720

       19.     Attached hereto as Exhibit 19 is a true and correct copy of the Official Committee

of Second Priority Noteholders’ Amended Motion to Compel Respondents to Produce

Documents and Information in Response to Subpoenas [Docket No. 4796] (the “Amended

Motion”).

       20.     Attached hereto as Exhibit 20 is a true and correct copy of the Opposition of Marc

J. Rowan and David B. to the Amended Motion, dated September 7, 2016 [Docket No. 4846].




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         21.   Attached hereto as Exhibit 21 is a true and correct copy of the Opposition of

David Bonderman and Kelvin Davis to the Amended Motion, dated September 7, 2016 [Docket

No. 4853].

         22.   Attached hereto as Exhibit 22 is a true and correct copy of the Opposition of Gary

Loveman and Eric Hession to the Amended Motion, dated September 7, 2016 [Docket No.

4855].

         23.   Attached hereto as Exhibit 23 is a true and correct copy of the Omnibus Reply of

the Official Committee of Second Priority Noteholders in support of the Amended Motion, dated

September 12, 2016 [Docket No. 4890].

         24.   Attached hereto as Exhibit 24 is a true and correct copy of a February 2, 2016

Kirkland & Ellis LLP presentation entitled “Interim Litigation Claims Assessment Presentation

to the Governance Committee of the Board of Directors of Caesars Entertainment Operating

Company, Inc.” (attached as Exhibit M to the Ogulluk Decl. [Docket No. 4792-17]).

         25.   Attached hereto as Exhibit 25 is a true and correct copy of the Agreed Protective

Order [Docket No. 1575-1].

         26.   Attached hereto as Exhibit 26 is a true and correct copy of the Debtors’ Second

Amended Joint Plan of Reorganization Pursuant to Chapter 11 of the Bankruptcy Code, June 28,

2016 [Docket No. 4218-1].

         27.   Attached hereto as Exhibit 27 is a true and correct copy of the Statement of Hon.

A. Benjamin Goldgar, September 19, 2016 [Docket No. 4999].

         28.   Attached hereto as Exhibit 28 is a true and correct copy of the Debtors’ Motion

for Entry of an Order (I) Approving Settlement By and Among Debtor Boardwalk Regency




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Corporation and Pier Renaissance LP, Barton I. Blatstein, and Tower Investments, Inc., and (II)

Granting Related Relief [Docket No. 1115].

       29.    Attached hereto as Exhibit 29 is a true and correct copy of the Order (I)

Approving Settlement By and Among Debtor Boardwalk Regency Corporation and Pier

Renaissance LP, Barton I. Blatstein, and Tower Investments, Inc., and (II) Granting Related

Relief [Docket No. 1321].

       30.    Attached hereto as Exhibit 30 is a true and correct copy of the Debtors’ Motion

for Entry of an Order (A) Approving Settlement By and Between Debtor Desert Palace, Inc. and

the U.S. Department of the Treasury Financial Crimes Enforcement Network and (B) Granting

Related Relief [Docket No. 2375].

       31.    Attached hereto as Exhibit 31 is a true and correct copy of the Order Approving

Settlement By and Between Debtor Desert Palace, Inc. and the U.S. Department of the Treasury

Financial Crimes Enforcement Network [Docket No. 2454].

       32.    Attached hereto as Exhibit 32 is a true and correct copy of the Debtors’ Motion

for Entry of an Order Approving Settlement by and among Debtor Caesars Entertainment

Operating Company, Inc., Caesars Entertainment Corporation, and the Hilton Parties [Docket

No. 4081].

       33.    Attached hereto as Exhibit 33 is a true and correct copy of the Order Approving

Settlement by and among Debtor Caesars Entertainment Operating Company, Inc., Caesars

Entertainment Corporation, and the Hilton Parties [Docket No. 4398].

       34.    Attached hereto as Exhibit 34 is a true and correct copy of the Debtors’ Motion

for Entry of an Order Approving Settlement By And Between Debtor Caesars Entertainment

Operating Company, Inc. and Park Hotel & Resorts Inc. [Docket No. 4637].




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       35.     Attached hereto as Exhibit 35 is a true and correct copy of the Order Approving

Settlement By And Between Debtor Caesars Entertainment Operating Company, Inc. and Park

Hotel & Resorts Inc. [Docket No. 4983].

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and
correct.


Dated: September 19, 2016                                   Respectfully,
       New York, New York


                                                               /s/ Edward E. Filusch
                                                            Edward E. Filusch (pro hac vice)




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